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                                                                  CLERK, U.S. DISTRICT COURT



                                                                    03/24/2022
                                                                          kss
                                                                CENTRAL DISTRICT OF CALIFORNIA
 1   TRACY L. WILKISON                                            BY: ___________________ DEPUTY

     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     DANIEL J. O’BRIEN (Cal. Bar No. 141720)
 4   Assistant United States Attorney
     Deputy Chief, Public Corruption & Civil Rights Section
 5   Central District of California
          1500 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-2468
          Facsimile: (213) 894-7631
 8        E-mail:    daniel.obrien@usdoj.gov
     EVAN N. TURGEON
 9   Trial Attorney
          U.S. Department of Justice
10        National Security Division
          Counterintelligence & Export Control Section
11
     Attorneys for Plaintiff
12   UNITED STATES OF AMERICA

13                          UNITED STATES DISTRICT COURT

14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,              No. CR     2:22-cr-00104-PA

16             Plaintiff,                   DOCUMENT

17                  v.                      [PLEA AGREEMENT]

18   RICHARD GUSTAVE OLSON, JR.,            [UNDER SEAL]

19             Defendant.

20

21        1.   This constitutes the plea agreement between Richard Gustave
22   Olson, Jr. (“defendant”), the United States Attorney’s Office for the
23   Central District of California (“the USAO”), and the United States
24   Department of Justice (“DOJ”) in the above-captioned case.                        This
25   agreement is limited to the USAO and DOJ and cannot bind any other
26   federal, state, local, or foreign prosecuting, enforcement,
27   administrative, or regulatory authorities.
28
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 1                            DEFENDANT’S OBLIGATIONS

 2        2.   Defendant agrees to:

 3             a.    Give up any right to indictment by a grand jury and,

 4   at the earliest opportunity requested by the USAO and provided by the

 5   Court, appear and plead guilty to a two-count information in the form

 6   attached to this agreement as Exhibit A or a substantially similar

 7   form, which charges defendant with violations of 18 U.S.C. § 1018,

 8   Making a False Writing, and 18 U.S.C. §§ 207(f)(1)(B), 216(a)(1),

 9   Aiding and Advising a Foreign Government with Intent to Influence

10   Decisions of United States Officers.      The plea shall take place in

11   either the United States District Court for the District of Columbia

12   or for the Eastern District of Virginia at the election of the

13   USAO/DOJ. The USAO/DOJ agree that at the time of his initial

14   appearance, defendant may be released on his personal recognizance.

15             b.    Not contest facts agreed to in this agreement.

16             c.    Abide by all agreements regarding sentencing contained

17   in this agreement.

18             d.    Appear for all court appearances, surrender as ordered

19   for service of sentence, obey all conditions of any bond, and obey

20   any other ongoing court order in this matter.

21             e.    Not commit any crime; however, offenses that would be

22   excluded for sentencing purposes under United States Sentencing

23   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

24   within the scope of this agreement.

25             f.    Be truthful at all times with the United States

26   Probation and Pretrial Services Office and the Court.

27

28
                                         2
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 1                g.   Pay the applicable special assessments at or before

 2   the time of sentencing unless defendant has demonstrated a lack of

 3   ability to pay such assessments.

 4                             THE USAO’S OBLIGATIONS

 5        3.      The USAO agrees to:
 6                a.   Not contest facts agreed to in this agreement.

 7                b.   Abide by all agreements regarding sentencing contained
 8   in this agreement.
 9                c.   At the time of sentencing, provided that defendant
10   demonstrates an acceptance of responsibility for the offenses up to
11   and including the time of sentencing, recommend a two-level reduction
12   in the applicable Sentencing Guidelines offense level, pursuant to

13   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
14   additional one-level reduction if available under that section.        The
15   parties anticipate that defendant’s guideline level will be below the
16   threshold necessary for an additional one-level reduction to be
17   available.
18                d.   Not further criminally prosecute defendant for

19   violations of 18 U.S.C. § 201(c)(1)(B), Public Official Receiving
20   Illegal Gratuity, related to September 2015 payments totaling $25,000
21   to a person with whom defendant had a personal relationship, 18
22   U.S.C. § 1519, Destruction of Documents, arising out of the deletion
23   of emails pertaining to work performed for the Qatar Government,
24   violations of 18 U.S.C. § 1001, False Statements, related to any

25   statements made by defendant during the pendency of the government’s
26   investigation, 18 U.S.C. § 208(a) Acts Affecting a Personal Financial
27   Interest, or any other violations of law relating to conduct

28   described in the factual basis of this plea agreement or the
                                         3
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 1   information.   Defendant understands that the USAO is free to

 2   criminally prosecute defendant for any other unlawful past conduct or

 3   any unlawful conduct that occurs after the date of this agreement.

 4   Defendant agrees that at the time of sentencing the Court may

 5   consider the uncharged conduct in determining the applicable

 6   Sentencing Guidelines range, the propriety and extent of any

 7   departure from that range, and the sentence to be imposed after

 8   consideration of the Sentencing Guidelines and all other relevant

 9   factors under 18 U.S.C. § 3553(a).

10        4.   Recommend that defendant be sentenced to a term of

11   imprisonment within the applicable Sentencing Guidelines range.

12                             NATURE OF THE OFFENSES

13        5.   Defendant understands that for defendant to be guilty of
14   the crime charged in Count One, Making a False Writing, in violation
15   of 18 U.S.C. § 1018, the following must be true:
16             a.    First, the defendant was a public officer employed by
17   the U.S. Department of State authorized to make a certificate or
18   writing, namely, an Office of Government Ethics Public Financial

19   Disclosure Report, Form 278;
20             b.    Second, the defendant knowingly made and delivered the
21   Form 278 as true, knowing that it contained a false statement; and
22             c.    Third, the writing was material to the activities or
23   decisions of the U.S. Department of State and Office of Government
24   Ethics; that is, it had a natural tendency to influence, or was

25   capable of influencing, agency decisions or activities.
26        6.   Defendant understands that for defendant to be guilty of
27   the crime charged in Count Two, Aiding and Assisting a Foreign
28   Government with Intent to Influence Decisions of United States
                                         4
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 1   Officers in violation of 18 U.S.C. §§ 207(f)(1)(B) and 216(a)(1), the

 2   government must prove the following:

 3              a.    First, during his last year of employment with the

 4   U.S. Government, defendant’s basic pay was over $160,112 (thereby

 5   making him a covered person under 18 U.S.C. § 207(c));

 6              b.    Second, defendant knowingly aided or advised a foreign

 7   entity, that is, the government of Qatar;

 8              c.    Third, defendant intended to influence a U.S.

 9   governmental decision or decisions through his aiding or advising;

10   and

11              d.    Fourth, defendant’s prohibited activities occurred

12   within one year after leaving the government job referenced above.

13                                     PENALTIES

14         7.   Defendant understands that the statutory maximum sentence
15   that the Court can impose for a violation of Title 18, United States
16   Code, Section 1018, is: one year’ imprisonment; a one-year period of
17   supervised release; a fine of $100,000 or twice the gross gain or
18   gross loss resulting from the offense, whichever is greatest; and a

19   mandatory special assessment of $25.
20         8.   Defendant understands that the statutory maximum sentence
21   that the Court can impose for a violation of Title 18, United States
22   Code, Sections 207(f)(1)(B) and 216(a)(1) is: one year’ imprisonment;
23   a one-year period of supervised release; a fine of $100,000 or twice
24   the gross gain or gross loss resulting from the offense, whichever is

25   greatest; and a mandatory special assessment of $25.
26         9.   Defendant understands, therefore, that the total maximum
27   sentence for all offenses to which defendant is pleading guilty is:
28   two years’ imprisonment; a one-year period of supervised release; a
                                          5
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 1   fine of $200,000 or twice the gross gain or gross loss resulting from

 2   the offenses, whichever is greatest; and a mandatory special

 3   assessment of $50.

 4        10.   Defendant understands that supervised release is a period

 5   of time following imprisonment during which defendant will be subject

 6   to various restrictions and requirements.       Defendant understands that

 7   if defendant violates one or more of the conditions of any supervised

 8   release imposed, defendant may be returned to prison for all or part

 9   of the term of supervised release authorized by statute for the

10   offense that resulted in the term of supervised release, which could

11   result in defendant serving a total term of imprisonment greater than

12   the statutory maximum stated above.

13        11.   Defendant understands that, by pleading guilty, defendant

14   may be giving up valuable government benefits and valuable civic

15   rights, such as the right to vote, the right to possess a firearm,

16   the right to hold office, and the right to serve on a jury.

17   Defendant understands that the convictions in this case may also

18   subject defendant to various other collateral consequences, including

19   but not limited to revocation of probation, parole, or supervised

20   release in another case and suspension or revocation of a

21   professional license.    Defendant understands that unanticipated

22   collateral consequences will not serve as grounds to withdraw

23   defendant’s guilty pleas.

24                                  FACTUAL BASIS

25        12.   Defendant admits that defendant is, in fact, guilty of the
26   offenses to which defendant is agreeing to plead guilty.          Defendant
27   and the USAO agree to the statement of facts provided below and agree
28   that this statement of facts is sufficient to support pleas of guilty
                                         6
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 1   to the charges described in this agreement and to establish the

 2   Sentencing Guidelines factors set forth in paragraph 14 below but is

 3   not meant to be a complete recitation of all facts relevant to the

 4   underlying criminal conduct or all facts known to either party that

 5   relate to that conduct.

 6        False Writing

 7        On January 27, 2015, while serving as the U.S. Ambassador to
          Pakistan, defendant received from a third-party, first-class,
 8
          round trip airfare tickets from New Mexico, via Los Angeles, to
 9        London and lodging at a hotel in London for the purpose of
          attending a job interview. Defendant also received from the
10        same third-party lodging at a hotel in London for the period
          January 30 through February 2, 2015. The value of the airfare
11        exceeded $18,000 and the value of the hotel accommodation
          exceeded $1,000.
12

13        As a senior U.S. Government official, defendant was required to
          file public financial disclosure reports on an annual basis.
14        The annual reports, known as OGE Forms 278, required the
          employee to disclose financial matters including income, assets,
15        liabilities, outside employment arrangements, gifts,
          reimbursements, and travel expenses.
16

17        On May 12, 2016, defendant electronically signed and submitted
          his annual OGE Form 278 for the 2015 calendar year, in which he
18        certified his answers were “true, complete and correct to the
          best of my knowledge.” In this OGE Form 278, defendant
19        knowingly and willfully failed to disclose, as required, the
          travel benefits he received, namely, the roundtrip airfare
20        between New Mexico and London and the lodging in London
          collectively worth over $19,000.
21

22        On September 1, 2016, the OGE Form 278 was signed by a
          Designated Ethics Official for the U.S. State Department who
23        opined, “On the basis of information contained in this report, I
          conclude that the filer is in compliance with applicable laws
24        and regulations.”
25
          Cooling-Off Period Violations
26
          From November 17, 2015 through November 30, 2016, defendant
27        served as the U.S. Special Representative for Afghanistan and
          Pakistan and received a base salary of $182,328. Defendant’s
28        position and salary placed him within a category of senior
                                         7
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 1   government officials subject to a one-year cooling-off period
     that prohibited him from representing any foreign entity before
 2   any employee of any agency of the United States, or from
     providing aid or advice to any foreign entity with the intent to
 3
     influence a decision of any employee of the United States.
 4
     Within the one-year cooling-off period after his November 30,
 5   2016 retirement, defendant provided aid and advice to the
     government of Qatar with the intent to influence decisions of
 6   U.S. government officials.
 7   Beginning on February 14, 2017, defendant participated in a
 8   lobbying effort to convince the U.S. Government to endorse the
     establishment of U.S. Customs and Border Control preclearance
 9   facilities at Doha International Airport in Qatar. Defendant
     helped draft a proposal that was sent to the Qatar government
10   which explained how preclearance facilities could be achieved.
     Defendant provided “two elements to the proposal in terms of
11   selling this to Washington,” recommending that the Qataris
12   leverage their close military partnership with the United States
     and emphasize the positive experience the United States
13   experienced with respect to the establishment of similar
     preclearance facilities in Abu Dhabi.
14
     On or about June 6, 2017, defendant participated in a lobbying
15   effort to convince the U.S. Government to support Qatar in its
     efforts to oppose a blockade imposed upon it by its neighbors.
16
     Defendant’s aid included recruiting a retired U.S. General (“the
17   “General”) to join defendant OLSON in providing aid and advice
     to Qatari government officials with the intent to influence U.S.
18   foreign policy with respect to the Gulf Diplomatic Crisis.

19   As part of his efforts to aid the Qatar Government, on June 6,
     2017, defendant recruited the General, who was working at a
20
     Washington D.C. think tank, to enlist his support in the
21   endeavor. On June 7, 2017, defendant met with the General, a
     third party, and others a hotel in Washington, D.C. at which
22   time the General explained how he would conduct the lobbying and
     public relations campaign. On June 8, 2017, the third party
23   agreed to pay for the expenses of defendant and the General to
     travel to Doha to meet with the Emir and representatives of the
24   Qatar Government. At the time, defendant was being paid $20,000
25   per month to provide services to the third party. The third
     party agreed to pay the General a fee for his efforts.
26
     On June 10, 2017, defendant and the General met with the Qatar
27   Emir and other representatives of his government. Defendant and
     the General told the Qatari government officials that they had
28   traveled to Qatar as private citizens, not on behalf of the U.S.
                                    8
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 1        government, but noted that they had connections with U.S.
          government officials that placed them in a position to help
 2        Qatar.
 3
          During the meetings, the General advised the Qatar government
 4        officials to embrace U.S. involvement in resolving the crisis,
          accept President Trump’s offer to mediate, sign a pending deal
 5        to purchase U.S. F-15 fighter jets, and use the U.S. Al Udeid
          Air Base in Qatar as leverage to exert influence over U.S.
 6        government officials. The Qatari officials were further advised
          to compete with Saudi Arabia’s lobbying campaign in the U.S. and
 7        to use a full spectrum of information operations to control the
 8        political narrative in the United States. The General informed
          the Qatar Government that they would use the U.S. National
 9        Security Advisor to further their efforts.

10        From June 9 through June 15, 2017, with the defendant’s
          knowledge, the General solicited the help of the National
11        Security Advisor and his staff to support the Qatar’s position
12        with respect to the crisis. On June 15, 2017, defendant, the
          General, and a third party met with a senior Qatar Government
13        Official and informed him the U.S. National Security Advisor and
          another senior U.S. government official had been briefed on
14        their efforts to convince the United States to support Qatar’s
          cause.
15
          On June 16, 2017, the General reported to defendant, the third
16
          party, and a senior Qatar Government Official that he personally
17        asked the National Security Advisor to meet with senior Qatar
          officials and that while an “embassy request has to work its way
18        up, our request will come down from above.”

19        On June 23, 2017, the General stated that two senior Qatar
          Government Officials would be visiting Washington, D.C. the next
20
          week and asked the National Security Advisor to meet with them.
21
          On June 28, 2017, defendant attended a dinner with the General,
22        representatives of the Qatar Government, and members of Congress
          in an effort to enlist Congress to support the Qatari cause.
23
                                 SENTENCING FACTORS
24
          13.   Defendant understands that in determining defendant’s
25
     sentence the Court is required to calculate the applicable Sentencing
26
     Guidelines range and to consider that range, possible departures
27
     under the Sentencing Guidelines, and the other sentencing factors set
28
                                         9
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 1   forth in 18 U.S.C. § 3553(a).      Defendant understands that the

 2   Sentencing Guidelines are advisory only, that defendant cannot have

 3   any expectation of receiving a sentence within the calculated

 4   Sentencing Guidelines range, and that after considering the

 5   Sentencing Guidelines and the other § 3553(a) factors, the Court will

 6   be free to exercise its discretion to impose any sentence it finds

 7   appropriate up to the maximum set by statute for the crimes of

 8   conviction.

 9        14.   Defendant and the USAO agree to the following applicable

10   Sentencing Guidelines factors:

11        1018 Base Offense Level                 6     U.S.S.G. § 2B1.1

12        207(f) Base Offense Level               6     U.S.S.G. § 2C1.3

13        Grouping enhancement                    +2    U.S.S.G. §§ 3D1.1 – 1.4

14        Combined Offense Level                  8     U.S.S.G. § 3D1.4

15        Acceptance of Responsibility            -2    U.S.S.G.§ 3El.1
          [If appropriate under ¶ 3.c]
16
          15.   Defendant and the USAO reserve the right to argue that
17
     additional specific offense characteristics, adjustments, and
18
     departures under the Sentencing Guidelines are appropriate.
19
          16.   Defendant understands that there is no agreement as to
20
     defendant’s criminal history or criminal history category.
21
                          WAIVER OF CONSTITUTIONAL RIGHTS
22
          17.   Defendant understands that by pleading guilty, defendant
23
     gives up the following rights:
24
                a.   The right to persist in a plea of not guilty.
25
                b.   The right to a speedy and public trial by jury.
26
                c.   The right to be represented by counsel – and if
27
     necessary have the Court appoint counsel - at trial.          Defendant
28
                                         10
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 1   understands, however, that, defendant retains the right to be

 2   represented by counsel – and if necessary have the Court appoint

 3   counsel – at every other stage of the proceeding.

 4              d.   The right to be presumed innocent and to have the

 5   burden of proof placed on the government to prove defendant guilty

 6   beyond a reasonable doubt.

 7              e.   The right to confront and cross-examine witnesses

 8   against defendant.

 9              f.   The right to testify and to present evidence in

10   opposition to the charges, including the right to compel the

11   attendance of witnesses to testify.

12              g.   The right not to be compelled to testify, and, if

13   defendant chose not to testify or present evidence, to have that

14   choice not be used against defendant.

15              h.   Any and all rights to pursue any affirmative defenses,

16   Fourth Amendment or Fifth Amendment claims, and other pretrial

17   motions that have been filed or could be filed.

18                                 WAIVER OF VENUE

19        18.   Having been fully advised by defendant’s attorney regarding
20   the requirements of venue with respect to the offenses to which
21   defendant is pleading guilty, to the extent the offenses to which
22   defendant is pleading guilty were committed, begun, or completed
23   outside the venues of the Central District of California, Eastern
24   District of Virginia, or District of Columbia defendant knowingly,

25   voluntarily, and intelligently waives, relinquishes, and gives up:
26   (a) any right that defendant might have to be prosecuted only in the
27   district where the offenses to which defendant is pleading guilty
28   were committed, begun, or completed; and (b) any defense, claim, or
                                         11
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 1   argument defendant could raise or assert based upon lack of venue

 2   with respect to the offenses to which defendant is pleading guilty.

 3                         WAIVER OF APPEAL OF CONVICTION

 4        19.   Defendant understands that, with the exception of an appeal
 5   based on a claim that defendant’s guilty pleas were involuntary, by
 6   pleading guilty, defendant is waiving and giving up any right to

 7   appeal defendant’s convictions on the offenses to which defendant is
 8   pleading guilty.    Defendant understands that this waiver includes,
 9   but is not limited to, arguments that the statutes to which defendant
10   is pleading guilty are unconstitutional, and any and all claims that
11   the statement of facts provided herein is insufficient to support
12   defendant’s pleas of guilty.

13                 LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
14        20.   Defendant agrees that, provided the Court imposes a total
15   term of imprisonment on all counts of conviction within or below the
16   range corresponding to an offense level of 8 and the criminal history
17   category calculated by the Court, defendant gives up the right to
18   appeal all of the following: (a) the procedures and calculations used

19   to determine and impose any portion of the sentence; (b) the term of
20   imprisonment imposed by the Court; (c) the fine imposed by the Court,
21   provided it is within the statutory maximum; (d) to the extent
22   permitted by law, the constitutionality or legality of defendant’s
23   sentence, provided it is within the statutory maximum; (e) the term
24   of probation or supervised release imposed by the Court, provided it

25   is within the statutory maximum; and (d) any of the following
26   conditions of probation or supervised release imposed by the Court:
27   the conditions set forth in Second Amended General Order 20-04 of
28   this Court; the drug testing conditions mandated by 18 U.S.C.
                                         12
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 1   §§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions

 2   authorized by 18 U.S.C. § 3563(b)(7).

 3        21.     The USAO agrees that, provided (a) all portions of the

 4   sentence are at or below the statutory maximum, the USAO gives up its

 5   right to appeal any portion of the sentence.

 6                       RESULT OF WITHDRAWAL OF GUILTY PLEA

 7        22.     Defendant agrees that if, after entering guilty pleas
 8   pursuant to this agreement, defendant seeks to withdraw and succeeds
 9   in withdrawing defendant’s guilty pleas on any basis other than a
10   claim and finding that entry into this plea agreement was
11   involuntary, then (a) the USAO will be relieved of all of its
12   obligations under this agreement, and (b) should the USAO choose to

13   pursue any charge that was either dismissed or not filed as a result
14   of this agreement, then (i) any applicable statute of limitations
15   will be tolled between the date of defendant’s signing of this
16   agreement and the filing commencing any such action; and
17   (ii) defendant waives and gives up all defenses based on the statute
18   of limitations, any claim of pre-indictment delay, or any speedy

19   trial claim with respect to any such action, except to the extent
20   that such defenses existed as of the date of defendant’s signing this
21   agreement.
22                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE
23        23.     Defendant agrees that if any count of conviction is
24   vacated, reversed, or set aside, the USAO may: (a) ask the Court to

25   resentence defendant on any remaining count of conviction, with both
26   the USAO and defendant being released from any stipulations regarding
27   sentencing contained in this agreement, (b) ask the Court to void the
28   entire plea agreement and vacate defendant’s guilty plea on any
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 1   remaining count of conviction, with both the USAO and defendant being

 2   released from all their obligations under this agreement, or

 3   (c) leave defendant’s remaining conviction, sentence, and plea

 4   agreement intact.       Defendant agrees that the choice among these three

 5   options rests in the exclusive discretion of the USAO.

 6                             EFFECTIVE DATE OF AGREEMENT

 7           24.   This agreement is effective upon signature and execution of
 8   all required certifications by defendant, defendant’s counsel, and an
 9   Assistant United States Attorney.
10                                  BREACH OF AGREEMENT
11           25.   Defendant agrees that if defendant, at any time after the
12   signature of this agreement and execution of all required

13   certifications by defendant, defendant’s counsel, and an Assistant
14   United States Attorney, knowingly violates or fails to perform any of
15   defendant’s obligations under this agreement (“a breach”), the USAO
16   may declare this agreement breached.          All of defendant’s obligations
17   are material, a single breach of this agreement is sufficient for the
18   USAO to declare a breach, and defendant shall not be deemed to have

19   cured a breach without the express agreement of the USAO in writing.
20   If the USAO declares this agreement breached, and the Court finds
21   such a breach to have occurred, then: (a) if defendant has previously
22   entered guilty pleas pursuant to this agreement, defendant will not
23   be able to withdraw the guilty pleas, and (b) the USAO will be
24   relieved of all its obligations under this agreement.

25           26.   Following the Court’s finding of a knowing breach of this
26   agreement by defendant, should the USAO choose to pursue any charge
27   that was either dismissed or not filed as a result of this agreement,
28   then:
                                            14
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 1              a.   Defendant agrees that any applicable statute of

 2   limitations is tolled between the date of defendant’s signing of this

 3   agreement and the filing commencing any such action.

 4              b.   Defendant waives and gives up all defenses based on

 5   the statute of limitations, any claim of pre-indictment delay, or any

 6   speedy trial claim with respect to any such action, except to the

 7   extent that such defenses existed as of the date of defendant’s

 8   signing this agreement.

 9              c.   Defendant agrees that: (i) any statements made by

10   defendant, under oath, at the guilty plea hearing (if such a hearing

11   occurred prior to the breach); (ii) the agreed to factual basis

12   statement in this agreement; and (iii) any evidence derived from such

13   statements, shall be admissible against defendant in any such action

14   against defendant, and defendant waives and gives up any claim under

15   the United States Constitution, any statute, Rule 410 of the Federal

16   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

17   Procedure, or any other federal rule, that the statements or any

18   evidence derived from the statements should be suppressed or are

19   inadmissible.

20          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

21                                OFFICE NOT PARTIES
22        27.   Defendant understands that the Court and the United States
23   Probation and Pretrial Services Office are not parties to this
24   agreement and need not accept any of the USAO’s sentencing

25   recommendations or the parties’ agreements to facts or sentencing
26   factors.
27        28.   Defendant understands that both defendant and the USAO are
28   free to: (a) supplement the facts by supplying relevant information
                                         15
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 1   to the United States Probation and Pretrial Services Office and the

 2   Court, (b) correct any and all factual misstatements relating to the

 3   Court’s Sentencing Guidelines calculations and determination of

 4   sentence, and (c) argue on appeal and collateral review that the

 5   Court’s Sentencing Guidelines calculations and the sentence it

 6   chooses to impose are not error, although each party agrees to

 7   maintain its view that the calculations in paragraph 1414 are

 8   consistent with the facts of this case.       While this paragraph permits

 9   both the USAO and defendant to submit full and complete factual

10   information to the United States Probation and Pretrial Services

11   Office and the Court, even if that factual information may be viewed

12   as inconsistent with the facts agreed to in this agreement, this

13   paragraph does not affect defendant’s and the USAO’s obligations not

14   to contest the facts agreed to in this agreement.

15        29.   Defendant understands that even if the Court ignores any

16   sentencing recommendation, finds facts or reaches conclusions

17   different from those agreed to, and/or imposes any sentence up to the

18   maximum established by statute, defendant cannot, for that reason,

19   withdraw defendant’s guilty pleas, and defendant will remain bound to

20   fulfill all defendant’s obligations under this agreement.          Defendant

21   understands that no one –- not the prosecutor, defendant’s attorney,

22   or the Court –- can make a binding prediction or promise regarding

23   the sentence defendant will receive, except that it will be within

24   the statutory maximum.

25                            NO ADDITIONAL AGREEMENTS

26        30.   Defendant understands that, except as set forth herein,
27   there are no promises, understandings, or agreements between the USAO
28   and defendant or defendant’s attorney, and that no additional
                                         16
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 1   promise, understanding, or agreement may be entered into unless in a

 2   writing signed by all parties or on the record in court.

 3               PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

 4        31.   The parties agree that this agreement will be considered
 5   part of the record of defendant’s guilty plea hearing as if the
 6   entire agreement had been read into the record of the proceeding.

 7    AGREED AND ACCEPTED
 8    UNITED STATES ATTORNEY’S OFFICE
      FOR THE CENTRAL DISTRICT OF
 9    CALIFORNIA
10    TRACY L. WILKISON
      United States Attorney
11

12
        DANIEL J
               J. O’BRIEN
13      Assistant United States Attorney
14

15
                                                       January 14, 2022
16    EVAN
       VAN TURGEON                                    Date
      Trial
       rial Attorney
17

18

19
      RICHARD GUSTAVE OLSON, JR.                      Date
20    Defendant
21
      s/J. Michael Hannon                             January 14, 2022
22
      J. MICHAEL HANNON                               Date
23    Attorney for Defendant

24

25

26
                             CERTIFICATION OF DEFENDANT
27
          I have read this agreement in its entirety.         I have had enough
28
     time to review and consider this agreement, and I have carefully and
                                     17
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 1   thoroughly discussed every part of it with my attorney.          I understand

 2   the terms of this agreement, and I voluntarily agree to those terms.

 3   I have discussed the evidence with my attorney, and my attorney has

 4   advised me of my rights, of possible pretrial motions that might be

 5   filed, of possible defenses that might be asserted either prior to or

 6   at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),

 7   of relevant Sentencing Guidelines provisions, and of the consequences

 8   of entering into this agreement.      No promises, inducements, or

 9   representations of any kind have been made to me other than those

10   contained in this agreement.      No one has threatened or forced me in

11   any way to enter into this agreement.       I am satisfied with the

12   representation of my attorney in this matter, and I am pleading

13   guilty because I am guilty of the charges and wish to take advantage

14   of the promises set forth in this agreement, and not for any other

15   reason.

16

17    RICHARD GUSTAVE OLSON, JR.                   Date
      Defendant
18

19

20                    CERTIFICATION OF DEFENDANT’S ATTORNEY
21        I am defendant Olson’s attorney.       I have carefully and
22   thoroughly discussed every part of this agreement with my client.
23   Further, I have fully advised my client of his rights, of possible
24   pretrial motions that might be filed, of possible defenses that might
25   be asserted either prior to or at trial, of the sentencing factors
26   set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
27   provisions, and of the consequences of entering into this agreement.
28   To my knowledge: no promises, inducements, or representations of any
                                         18
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 1   kind have been made to my client other than those contained in this

 2   agreement; no one has threatened or forced my client in any way to

 3   enter into this agreement; my client’s decision to enter into this

 4   agreement is an informed and voluntary one; and the factual basis set

 5   forth in this agreement is sufficient to support my client’s entry of

 6   guilty pleas pursuant to this agreement.

 7        s/J. Michael Hannon                           January 14, 2022
 8    J. MICHAEL HANNON                               Date
      Attorney for Defendant Olson
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